                                                                Case 17-11807-LMI           DocFORM
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                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                            ASSET CASES

Case No.:                        17-11807                                                                                                                      Trustee Name:                              Joel L. Tabas
Case Name:                       ANAUEL CATERING CORP.                                                                                                         Date Filed (f) or Converted (c):           10/30/2017 (c)
For the Period Ending:           09/30/2019                                                                                                                    §341(a) Meeting Date:                      11/29/2017
                                                                                                                                                               Claims Bar Date:                           02/27/2018
                                      1                                                2                               3                                 4                         5                                          6

                       Asset Description                                          Petition/                  Estimated Net Value                   Property                  Sales/Funds                 Asset Fully Administered (FA)/
                        (Scheduled and                                          Unscheduled                 (Value Determined by                   Abandoned                 Received by                Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                       Value                           Trustee,                  OA =§ 554(a) abandon.            the Estate
                                                                                                           Less Liens, Exemptions,
                                                                                                              and Other Costs)

Ref. #
1        Cash on hand                                                                      $0.00                                  $35.25                                                 $35.25                                           FA
Asset Notes:       Turned over at Inspection
2        VOID                                                        (u)              Unknown                                      $0.00                                                  $0.00                                           FA
3        TD Bank                                                                        $665.00                                    $0.00                                                  $0.00                                           FA
4        Security Deposits on Commercial property                                    $16,000.00                                    $0.00                                                  $0.00                                           FA
         leased to KC Property LLC
5        Kitchen Equipment and Restaurant Equipment                                $125,000.00                                     $0.00                OA                                $0.00                                           FA
Asset Notes:       Trustee's Notice of Abandonment, 11/22/17 (ECF 105)
6        Food                                                                        $10,000.00                                    $0.00                                                  $0.00                                           FA
Asset Notes:       Order Granting Motion for Authority to Donate, or Alternatively, Dispose of Food and Food Products Remaining at Debtor's Premises, 11/21/17 (ECF 104)
7        Website                                                                        $300.00                                    $0.00                                                  $0.00                                           FA
8        Alcohol License 4COP                                                      $200,000.00                              $140,000.00                                           $171,000.00                                             FA
Asset Notes:       Order (1) Approving Competitive Bidding Procedures and (2) Scheduling Date to Conduct Auction, 7/23/18 (ECF 120)


                   Final Order Granting Trustee's Motion to Sell Free and Clear of All Liens, Claims and Encumbrances, 8/10/18 (ECF 123)
9        ovens                                                                           $0.00                               $0.00                      OA                                $0.00                                           FA
Asset Notes:       Trustee's Notice of Abandonment, 11/22/17 (ECF 105)
10       Alcohol                                                                     $10,000.00                                    $1.00                OA                                $0.00                                           FA
Asset Notes:       Order Granting Trustee's Motion to Approve Abandonment and Disposal of Wine and Liquor, 5/3/19 [ECF 160]
11       potential causes of action                                  (u)                   $0.00                               $1,000.00                                               $1,000.00                                          FA
Asset Notes:       Order Granting Motion to Approve Proposed Private Sale of Estate's Right, Title and Interest in Causes of Action against Dodel Druckmann and Salomon Chaillo, 4/24/19 [ECF 157]


TOTALS (Excluding unknown value)                                                                                                                                                                              Gross Value of Remaining Assets
                                                                                  $361,965.00                               $141,036.25                                           $172,035.25                                         $0.00



Major Activities affecting case closing:
 The Trustee has already recovered $171,000 from the liquidation of the Debtors’ alcoholic beverage license. Currently, the Trustee is conducting a further review of the debtor's records
 to determine whether there are additional assets to recover for the benefit of unsecured creditors and investigating potential causes of actions, such as preferences and fraudulent transfers,
 that the estate may possess against third parties.
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                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    17-11807                                                                                               Trustee Name:                           Joel L. Tabas
Case Name:                   ANAUEL CATERING CORP.                                                                                  Date Filed (f) or Converted (c):        10/30/2017 (c)
For the Period Ending:        09/30/2019                                                                                            §341(a) Meeting Date:                   11/29/2017
                                                                                                                                    Claims Bar Date:                        02/27/2018
                                 1                                   2                            3                           4                        5                                        6

                     Asset Description                            Petition/              Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled             (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                       Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)


Initial Projected Date Of Final Report (TFR):   03/15/2019                    Current Projected Date Of Final Report (TFR):       12/31/2020               /s/ JOEL L. TABAS
                                                                                                                                                           JOEL L. TABAS
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                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      17-11807                                                                                          Trustee Name:                         Joel L. Tabas
Case Name:                    ANAUEL CATERING CORP.                                                                             Bank Name:                            Union Bank
Primary Taxpayer ID #:        **-***0046                                                                                        Checking Acct #:                      ******2488
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                        Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                        Blanket bond (per case limit):        $56,290,000.00
For Period Ending:            09/30/2019                                                                                        Separate bond (if applicable):


     1               2                       3                                                      4                                                  5                    6                    7

Transaction      Check /                   Paid to/                        Description of Transaction                             Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


11/02/2017           (1)   TABAS & SOLOFF, P.A.                   Cash turned over at Inspection                                 1129-000               $35.25                   $0.00                  $35.25
01/23/2018        10001    INTERNATIONAL SURETIES, LTD            2018 Chapter 7 Trustee Bond Number                             2300-000                  $0.00                 $0.01                  $35.24
                                                                  016027932 ($0.30 per $1,000. on deposit as of
                                                                  November 30, 2016), pursuant to Local Rule 2016-1(A)
                                                                  (k)
04/06/2018           (8)   HANI ABISAID                           Final Order Granting Trustee's Motion to Approve               1229-000           $14,000.00                   $0.00            $14,035.24
                                                                  Proposed Private Sale of Estate’s Right, Tittle and
                                                                  Interest in Debtor’s Liquor License Free and Clear of all
                                                                  Liens, Claims and Encumbrances, 8/10/18 (ECF 123)
05/25/2018                 Union Bank                             BANK SERVICE FEE                                               2600-000                  $0.00                $16.83            $14,018.41
06/25/2018                 Union Bank                             BANK SERVICE FEE                                               2600-000                  $0.00                $20.85            $13,997.56
07/25/2018           (8)   LAW OFFICE OF DOUGLAS D.               Final Order Granting Trustee's Motion to Approve               1229-000           $14,000.00                   $0.00            $27,997.56
                           STRATTON                               Proposed Private Sale of Estate’s Right, Tittle and
                                                                  Interest in Debtor’s Liquor License Free and Clear of all
                                                                  Liens, Claims and Encumbrances, 8/10/18 (ECF 123)
07/25/2018                 Union Bank                             BANK SERVICE FEE                                               2600-000                  $0.00                $20.16            $27,977.40
08/13/2018           (8)   HANI ABISAID                           Final Order Granting Trustee's Motion to Approve               1229-000          $157,000.00                   $0.00          $184,977.40
                                                                  Proposed Private Sale of Estate’s Right, Tittle and
                                                                  Interest in Debtor’s Liquor License Free and Clear of all
                                                                  Liens, Claims and Encumbrances, 8/10/18 (ECF 123)
08/14/2018        10002    LAW OFFICE OF DOUGLAS D.               Final Order Granting Trustee's                                 1229-000          ($14,000.00)                  $0.00          $170,977.40
                           STRATTON                               Motion to Approve Proposed Private Sale of Estate’s
                                                                  Right, Tittle and Interest in Debtor’s Liquor License
                                                                  Free and Clear of all Liens, Claims and Encumbrances,
                                                                  8/10/18 (ECF 123)




                                                                                                                                SUBTOTALS           $171,035.25                 $57.85
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        17-11807                                                                                             Trustee Name:                          Joel L. Tabas
Case Name:                      ANAUEL CATERING CORP.                                                                                Bank Name:                             Union Bank
Primary Taxpayer ID #:          **-***0046                                                                                           Checking Acct #:                       ******2488
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                         Checking Account (Non-Interest Earn
For Period Beginning:           10/01/2018                                                                                           Blanket bond (per case limit):         $56,290,000.00
For Period Ending:              09/30/2019                                                                                           Separate bond (if applicable):


     1               2                          3                                                    4                                                       5                    6                    7

Transaction      Check /                     Paid to/                        Description of Transaction                               Uniform           Deposit             Disbursement            Balance
   Date           Ref. #                  Received From                                                                              Tran Code            $                      $


08/16/2018        10003     FLORIDA DEPARTMENT OF                    Final Order Granting Trustee's                                   5800-000                   $0.00           $20,129.99           $150,847.41
                            REVENUE                                  Motion to Approve Proposed Private Sale of Estate’s
                                                                     Right, Tittle and Interest in Debtor’s Liquor License
                                                                     Free and Clear of all Liens, Claims and Encumbrances,
                                                                     8/10/18 (ECF 123)
08/27/2018                  Union Bank                               BANK SERVICE FEE                                                 2600-000                   $0.00                 $25.50         $150,821.91
09/25/2018                  Union Bank                               Bank Service Fee                                                 2600-000                   $0.00                $172.68         $150,649.23
09/25/2018                  Green Bank                               Transfer Funds                                                   9999-000                   $0.00          $150,649.23                   $0.00

                                                                                        TOTALS:                                                          $171,035.25             $171,035.25                  $0.00
                                                                                            Less: Bank transfers/CDs                                           $0.00             $150,649.23
                                                                                        Subtotal                                                         $171,035.25              $20,386.02
                                                                                            Less: Payments to debtors                                          $0.00                   $0.00
                                                                                        Net                                                              $171,035.25              $20,386.02




                     For the period of 10/01/2018 to 09/30/2019                                                    For the entire history of the account between 11/02/2017 to 9/30/2019

                     Total Compensable Receipts:                           $0.00                                    Total Compensable Receipts:                                 $171,035.25
                     Total Non-Compensable Receipts:                       $0.00                                    Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                         $0.00                                    Total Comp/Non Comp Receipts:                               $171,035.25
                     Total Internal/Transfer Receipts:                     $0.00                                    Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                      $0.00                                    Total Compensable Disbursements:                             $20,386.02
                     Total Non-Compensable Disbursements:                  $0.00                                    Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                    $0.00                                    Total Comp/Non Comp Disbursements:                           $20,386.02
                     Total Internal/Transfer Disbursements:                $0.00                                    Total Internal/Transfer Disbursements:                      $150,649.23
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                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       17-11807                                                                                        Trustee Name:                         Joel L. Tabas
Case Name:                     ANAUEL CATERING CORP.                                                                           Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:         **-***0046                                                                                      Checking Acct #:                      ******0701
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                        DDA
For Period Beginning:          10/01/2018                                                                                      Blanket bond (per case limit):        $56,290,000.00
For Period Ending:             09/30/2019                                                                                      Separate bond (if applicable):


     1                2                        3                                                    4                                                 5                    6                    7

Transaction      Check /                    Paid to/                       Description of Transaction                            Uniform           Deposit           Disbursement             Balance
   Date           Ref. #                 Received From                                                                          Tran Code            $                    $


09/25/2018                  Union Bank                             Transfer Funds                                               9999-000          $150,649.23                   $0.00           $150,649.23
10/18/2018           5001   TABAS & SOLOFF PA                      Order Granting First Interim Application for                 3110-000                  $0.00           $17,276.00            $133,373.23
                                                                   Compensation, 10/5/18 (ECF 133)
10/18/2018           5002   TABAS & SOLOFF PA                      Order Granting First Interim Application for                 3120-000                  $0.00            $1,379.91            $131,993.32
                                                                   Compensation, 10/5/18 (ECF 133)
10/18/2018           5003   Ryan Malkin, Esq                       Order Granting First Interim Fee Application for             3210-600                  $0.00            $1,893.75            $130,099.57
                                                                   Compensation, 10/5/18 (ECF 134)
10/18/2018           5004   Ryan Malkin, Esq                       Order Granting First Interim Fee Application for             3220-610                  $0.00                $20.00           $130,079.57
                                                                   Compensation, 10/5/18 (ECF 134)
03/29/2019           (11)   Subramania Stinivasan                  Order Granting Motion to Approve Proposed Private            1249-000            $1,000.00                   $0.00           $131,079.57
                                                                   Sale of Estate's Right, Title and Interest in Causes of
                                                                   Action against Dodel Druckmann and Salomon Chaillo,
                                                                   4/24/19 [ECF 157]




                                                                                                                               SUBTOTALS           $151,649.23            $20,569.66
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        17-11807                                                                                        Trustee Name:                        Joel L. Tabas
Case Name:                      ANAUEL CATERING CORP.                                                                           Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:          **-***0046                                                                                      Checking Acct #:                     ******0701
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                       DDA
For Period Beginning:           10/01/2018                                                                                      Blanket bond (per case limit):       $56,290,000.00
For Period Ending:              09/30/2019                                                                                      Separate bond (if applicable):


    1                2                          3                                                   4                                                   5                  6                    7

Transaction      Check /                     Paid to/                       Description of Transaction                           Uniform           Deposit           Disbursement             Balance
   Date           Ref. #                  Received From                                                                         Tran Code            $                    $



                                                                                     TOTALS:                                                        $151,649.23                $20,569.66        $131,079.57
                                                                                         Less: Bank transfers/CDs                                   $150,649.23                     $0.00
                                                                                     Subtotal                                                         $1,000.00                $20,569.66
                                                                                         Less: Payments to debtors                                        $0.00                     $0.00
                                                                                     Net                                                              $1,000.00                $20,569.66




                     For the period of 10/01/2018 to 09/30/2019                                                For the entire history of the account between 09/25/2018 to 9/30/2019

                     Total Compensable Receipts:                       $1,000.00                               Total Compensable Receipts:                                 $1,000.00
                     Total Non-Compensable Receipts:                       $0.00                               Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                     $1,000.00                               Total Comp/Non Comp Receipts:                               $1,000.00
                     Total Internal/Transfer Receipts:                     $0.00                               Total Internal/Transfer Receipts:                         $150,649.23


                     Total Compensable Disbursements:                 $20,569.66                               Total Compensable Disbursements:                           $20,569.66
                     Total Non-Compensable Disbursements:                  $0.00                               Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:               $20,569.66                               Total Comp/Non Comp Disbursements:                         $20,569.66
                     Total Internal/Transfer Disbursements:                $0.00                               Total Internal/Transfer Disbursements:                          $0.00
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        17-11807                                                                                        Trustee Name:                         Joel L. Tabas
Case Name:                      ANAUEL CATERING CORP.                                                                           Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:          **-***0046                                                                                      Checking Acct #:                      ******0701
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                        DDA
For Period Beginning:           10/01/2018                                                                                      Blanket bond (per case limit):        $56,290,000.00
For Period Ending:              09/30/2019                                                                                      Separate bond (if applicable):


    1                2                           3                                                      4                                              5                    6                    7

Transaction      Check /                     Paid to/                           Description of Transaction                        Uniform           Deposit           Disbursement             Balance
   Date           Ref. #                  Received From                                                                          Tran Code            $                    $


                                                                                                                                                                                NET               ACCOUNT
                                                                                         TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE              BALANCES

                                                                                                                                                    $172,035.25           $40,955.68             $131,079.57




                     For the period of 10/01/2018 to 09/30/2019                                                 For the entire history of the account between 09/25/2018 to 9/30/2019

                     Total Compensable Receipts:                          $1,000.00                          Total Compensable Receipts:                                 $172,035.25
                     Total Non-Compensable Receipts:                          $0.00                          Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                        $1,000.00                          Total Comp/Non Comp Receipts:                               $172,035.25
                     Total Internal/Transfer Receipts:                        $0.00                          Total Internal/Transfer Receipts:                           $150,649.23


                     Total Compensable Disbursements:                    $20,569.66                          Total Compensable Disbursements:                             $40,955.68
                     Total Non-Compensable Disbursements:                     $0.00                          Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                  $20,569.66                          Total Comp/Non Comp Disbursements:                           $40,955.68
                     Total Internal/Transfer Disbursements:                   $0.00                          Total Internal/Transfer Disbursements:                      $150,649.23




                                                                                                                                                 /s/ JOEL L. TABAS
                                                                                                                                                 JOEL L. TABAS
